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                    EXHIBIT A
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                             MISSOURI CIRCUIT COURT
                           TWENTY-FIRST JUDICIAL CIRCUIT
                                ST. LOUIS COUNTY


JILL BARTH, GARY FALEN, LINDA)
FARRELL, FLOYD GOULD, JAMES KLOCK,)
ROSS LEGRANDE and MARK WILLIAMS, )
                                     )               Case No.___________________
       Plaintiffs,                   )
                                     )                Division No. _______________
v.                                   )
                                     )
                                     )
                                     )
MONSANTO COMPANY                     )
                                     )
Serve: Registered Agent              )               JURY TRIAL DEMANDED
       CSC of St. Louis County, Inc. )
       130 South Bemiston Avenue     )
       Suite 700                     )
       Clayton, MO 63105             )
                                     )
       Defendant.                    )



                                           PETITION

       Come Now Plaintiffs, Jill Barth, Gary Falen, Linda Farrell, Floyd Gould, James Klock,

Ross LeGrande, and Mark Williams by and through their counsel, and for their cause of action

against defendant Monsanto Company, state to the Court as follows:

                                       INTRODUCTION

       Plaintiffs bring this cause of action against Defendant pursuant to Rule 52.05(a) of the

Missouri Rules of Civil Procedure, as their claims arise out of the same series of transactions and

occurrences, and their claims involve common questions of law and/or fact. All claims in this

action are a direct and proximate result of Defendant’s negligent, willful, and wrongful conduct in

connection with the design, development, manufacture, testing, packaging, promoting, marketing,
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distribution, and/or sale of Roundup® and/or other Monsanto glyphosate-containing products

(“Roundup” or “Roundup®”). All Plaintiffs in this action seek recovery for damages as a result of

developing Non-Hodgkin’s Lymphoma (“NHL”), which was directly and proximately caused by

such wrongful conduct by Defendant, the unreasonably dangerous and defective nature of

Roundup®, and its active ingredient, glyphosate, and the attendant effects of developing NHL. No

Plaintiff knew of an association between exposure to Roundup® and the increased risk of

developing NHL until well after July 29, 2015, when the International Agency for Research on

Cancer (“IARC”), an agency of the World Health Organization (“WHO”), first published its

evaluation of glyphosate. All of the claims involve common questions of law and fact and share

legal and medical issues that arise out of all of the Plaintiffs’ exposures to Roundup.

I.      THE PARTIES

Plaintiffs

       1.      Plaintiff Jill Barth is a resident of New York and was at all relevant times a resident

of New York. Plaintiff Barth used Roundup® and was subsequently diagnosed with Non-

Hodgkin’s lymphoma in 2015. Plaintiff used Roundup® as directed at all relevant times.

       2.      Plaintiff Gary Falen is a resident of Idaho and was at all relevant times a resident

of Idaho. Plaintiff Falen used Roundup® for several decades and was subsequently diagnosed with

Non-Hodgkin’s lymphoma. Plaintiff used Roundup® as directed at all relevant times.

       3.      Plaintiff Linda Farrell is a resident of Texas and was at all relevant times a resident

of Texas. Plaintiff Farrell used Roundup® for at over a decade and was subsequently diagnosed

with Non-Hodgkin’s lymphoma in 2016. Plaintiff used Roundup® as directed at all relevant times.




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         4.     Plaintiff Floyd Gould is a resident of Illinois and was at all relevant times a resident

of Illinois. Plaintiff Gould used Roundup® for over 20 years and was subsequently diagnosed with

Non-Hodgkin’s lymphoma in 2016. Plaintiff used Roundup® as directed at all relevant times.

         5.     Plaintiff James Klock is a resident of New York and was at all relevant times a

resident of New York. Plaintiff Klock used Roundup® for 10 years and was subsequently

diagnosed with Non-Hodgkin’s lymphoma in 2015 and required chemotherapy, radiation and

extensive treatment throughout 2015 and 2016. Plaintiff used Roundup® as directed at all relevant

times.

         6.     Plaintiff Ross LeGrande is a resident of Texas and was at all relevant times a

resident of Texas. Plaintiff LeGrande used Roundup® for at over two decades and was

subsequently diagnosed with Non-Hodgkin’s lymphoma in 2016. Plaintiff used Roundup® as

directed at all relevant times.

         7.     Plaintiff Mark Williams is a resident of Michigan and was at all relevant times a

resident of Michigan. Plaintiff Williams used Roundup® for at over a decade and was

subsequently diagnosed with Non-Hodgkin’s lymphoma in 2015. Plaintiff used Roundup® as

directed at all relevant times.

Defendant

         8.     Defendant Monsanto Company (“Monsanto”) is a Delaware corporation with its

 headquarters and principal place of business in St. Louis, Missouri.

         9.     At all times relevant to this petition, Monsanto was the entity that discovered the

herbicidal properties of glyphosate and the manufacturer of Roundup®.

II.      INTRODUCTION




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       10.     In 1970, Defendant Monsanto Company discovered the herbicidal properties of

glyphosate and began marketing it in products in 1974 under the brand name Roundup®.

Roundup® is a non-selective herbicide used to kill weeds that commonly compete with the

growing of crops. By 2001, glyphosate had become the most-used active ingredient in American

agriculture with 85–90 millions of pounds used annually. That number grew to 185 million pounds

by 2007. As of 2013, glyphosate was the world’s most widely used herbicide.

       11.     Monsanto is a multinational agricultural biotechnology corporation based in St.

Louis, Missouri. It is the world's leading producer of glyphosate. As of 2009, Monsanto was the

world’s leading producer of seeds, accounting for 27% of the world seed market. The majority of

these seeds are of the Roundup Ready® brand. The stated advantage of Roundup Ready® crops

is that they substantially improve a farmer’s ability to control weeds, since glyphosate can be

sprayed in the fields during the growing season without harming their crops. In 2010, an estimated

70% of corn and cotton, and 90% of soybean fields in the United States were Roundup Ready®.

       12.     Monsanto’s glyphosate products are registered in 130 countries and approved for

use on over 100 different crops. They are ubiquitous in the environment. Numerous studies

confirm that glyphosate is found in rivers, streams, and groundwater in agricultural areas where

Roundup® is used. It has been found in food, in the urine of agricultural workers, and even in the

urine of urban dwellers who are not in direct contact with glyphosate.

       13.     On March 20, 2015, the International Agency for Research on Cancer (“IARC”),

an agency of the World Health Organization (“WHO”), issued an evaluation of several herbicides,

including glyphosate. That evaluation was based, in part, on studies of exposures to glyphosate in

several countries around the world, and it traces the health implications from exposure to

glyphosate since 2001.


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         14.   On July 29, 2015, IARC issued the formal monograph relating to glyphosate. In

that monograph, the IARC Working Group provides a thorough review of the numerous studies

and data relating to glyphosate exposure in humans.

         15.   The IARC Working Group classified glyphosate as a Group 2A herbicide, which

means that it is probably carcinogenic to humans. The IARC Working Group concluded that the

cancers most associated with glyphosate exposure are non-Hodgkin lymphoma and other

hematopoietic cancers, including lymphocytic lymphoma/chronic lymphocytic leukemia, B-cell

lymphoma, and multiple myeloma.

         16.   The IARC evaluation is significant. It confirms what has been believed for years:

that glyphosate is toxic to humans.

         17.   Nevertheless, Monsanto, since it began selling Roundup®, has represented it as

safe to humans and the environment. Indeed, Monsanto has repeatedly proclaimed and continues

to proclaim to the world, and particularly to United States consumers, that glyphosate-based

herbicides, including Roundup®, create no unreasonable risks to human health or to the

environment.

III.     JURISDICTION AND VENUE

         18.   At all times relevant hereto, Monsanto was in the business of researching,

designing, formulating, compounding, testing, manufacturing, producing, processing, assembling,

inspecting, distributing, labeling, and packaging and Monsanto was in the business of marketing,

promoting, and/or advertising Roundup® products in the State of Missouri and the County of St.

Louis.




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       19.     At all times relevant hereto, Monsanto was a Delaware corporation with its

headquarters and principal place of business in St. Louis, Missouri, and therefore is a local

defendant for purposes of removal and diversity jurisdiction.

       20.     Venue is proper in St. Louis County under RSMo. §508.010(5)(2) because this is a

tort case in which Plaintiffs were first injured outside of Missouri, and the registered agent for

Defendant, Monsanto is located in St. Louis County.

IV.    FACTS

       21.     Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety of

herbicidal products around the world.

       22.     Plants treated with glyphosate translocate the systemic herbicide to their roots,

shoot regions and fruit, where it interferes with the plant’s ability to form aromatic amino acids

necessary for protein synthesis. Treated plants generally die within two to three days. Because

plants absorb glyphosate, it cannot be completely removed by washing or peeling produce or by

milling, baking, or brewing grains.

       23.     For nearly 40 years, farms across the world have used Roundup® without knowing

of the dangers its use poses. That is because when Monsanto first introduced Roundup®, it touted

glyphosate as a technological breakthrough: it could kill almost every weed without causing harm

either to people or to the environment. Of course, history has shown that not to be true. According

to the WHO, the main chemical ingredient of Roundup®—glyphosate—is a probable cause of

cancer. Those most at risk are farm workers and other individuals with workplace exposure to

Roundup®, such as workers in garden centers, nurseries, and landscapers. Agricultural workers

are, once again, victims of corporate greed. Monsanto assured the public that Roundup® was

harmless. In order to prove this, Monsanto championed falsified data and attacked legitimate


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studies that revealed its dangers. Monsanto led a prolonged campaign of misinformation to

convince government agencies, farmers, and the general population that Roundup® was safe.

The Discovery of Glyphosate and Development of Roundup®

       24.     The herbicidal properties of glyphosate were discovered in 1970 by Monsanto

chemist John Franz. The first glyphosate-based herbicide was introduced to the market in the mid-

1970s under the brand name Roundup®. From the outset, Monsanto marketed Roundup® as a

“safe” general-purpose herbicide for widespread commercial and consumer use; Monsanto still

markets Roundup® as safe today.

Registration of Herbicides under Federal Law

       25.     The manufacture, formulation and distribution of herbicides, such as Roundup®,

are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA” or “Act”),

7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental

Protection Agency (“EPA” or “Agency”) prior to their distribution, sale, or use, except as

described by the Act. 7 U.S.C. § 136a(a).

       26.     Because pesticides are toxic to plants, animals, and humans, at least to some degree,

the EPA requires as part of the registration process, among other things, a variety of tests to

evaluate the potential for exposure to pesticides, toxicity to people and other potential non-target

organisms, and other adverse effects on the environment. Registration by the EPA, however, is not

an assurance or finding of safety. The determination the Agency must make in registering or re-

registering a product is not that the product is “safe,” but rather that use of the product in

accordance with its label directions “will not generally cause unreasonable adverse effects on the

environment.” 7 U.S.C. § 136a(c)(5)(D).




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       27.     FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

requires EPA to make a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.

       28.     The EPA registered Roundup® for distribution, sale, and manufacture in the United

States and the States of Missouri.

       29.     FIFRA generally requires that the registrant, Monsanto in the case of Roundup®,

conducts the health and safety testing of pesticide products. The EPA has protocols governing the

conduct of tests required for registration and the laboratory practices that must be followed in

conducting these tests. The data produced by the registrant must be submitted to the EPA for

review and evaluation. The government is not required, nor is it able, however, to perform the

product tests that are required of the manufacturer.

       30.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a Congressionally-mandated process called “re-registration.” 7 U.S.C. § 136a-1.

In order to reevaluate these pesticides, the EPA is demanding the completion of additional tests

and the submission of data for the EPA’s review and evaluation.

       31.     In the case of glyphosate, and therefore Roundup®, the EPA had planned on

releasing its preliminary risk assessment —in relation to the re-registration process—no later than

July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed releasing the

risk assessment pending further review in light of the WHO’s health-related findings.


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Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup

       32.     Based on early studies that glyphosate could cause cancer in laboratory animals,

the EPA originally classified glyphosate as possibly carcinogenic to humans (Group C) in 1985.

After pressure from Monsanto, including contrary studies it provided to the EPA, the EPA changed

its classification to evidence of non-carcinogenicity in humans (Group E) in 1991. In so classifying

glyphosate, however, the EPA made clear that the designation did not mean the chemical does not

cause cancer: “It should be emphasized, however, that designation of an agent in Group E is based

on the available evidence at the time of evaluation and should not be interpreted as a definitive

conclusion that the agent will not be a carcinogen under any circumstances.”

       33.     On two occasions, the EPA found that the laboratories hired by Monsanto to test

the toxicity of its Roundup® products for registration purposes committed fraud.

       34.     In the first instance, Monsanto, in seeking initial registration of Roundup® by EPA,

hired Industrial Bio-Test Laboratories (“IBT”) to perform and evaluate pesticide toxicology

studies relating to Roundup®. IBT performed about 30 tests on glyphosate and glyphosate-

containing products, including nine of the 15 residue studies needed to register Roundup®.

       35.     In 1976, the United States Food and Drug Administration (“FDA”) performed an

inspection of Industrial Bio-Test Industries (“IBT”) that revealed discrepancies between the raw

data and the final report relating to the toxicological impacts of glyphosate. The EPA subsequently

audited IBT; it too found the toxicology studies conducted for the Roundup® herbicide to be

invalid. An EPA reviewer stated, after finding “routine falsification of data” at IBT, that it was

“hard to believe the scientific integrity of the studies when they said they took specimens of the

uterus from male rabbits.”

       36.     Three top executives of IBT were convicted of fraud in 1983.


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       37.     In the second incident of data falsification, Monsanto hired Craven Laboratories in

1991 to perform pesticide and herbicide studies, including for Roundup®. In that same year, the

owner of Craven Laboratories and three of its employees were indicted, and later convicted, of

fraudulent laboratory practices in the testing of pesticides and herbicides.

       38.     Despite the falsity of the tests that underlie its registration, within a few years of its

launch, Monsanto was marketing Roundup® in 115 countries.

The Importance of Roundup® to Monsanto’s Market Dominance Profits

       39.     The success of Roundup® was key to Monsanto’s continued reputation and

dominance in the marketplace. Largely due to the success of Roundup® sales, Monsanto’s

agriculture division was out-performing its chemicals division’s operating income, and that gap

increased yearly. But with its patent for glyphosate expiring in the United States in the year 2000,

Monsanto needed a strategy to maintain its Roundup® market dominance and to ward off

impending competition.

       40.     In response, Monsanto began the development and sale of genetically engineered

Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to glyphosate; farmers

can spray Roundup® onto their fields during the growing season without harming the crop. This

allowed Monsanto to expand its market for Roundup® even further; by 2000, Monsanto’s

biotechnology seeds were planted on more than 80 million acres worldwide and nearly 70% of

American soybeans were planted from Roundup Ready® seeds. It also secured Monsanto’s

dominant share of the glyphosate/Roundup® market through a marketing strategy that coupled

proprietary Roundup Ready® seeds with continued sales of its Roundup® herbicide.

       41.     Through a three-pronged strategy of increased production, decreased prices, and by

coupling with Roundup Ready® seeds, Roundup® became Monsanto’s most profitable product.


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In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling other herbicides by a

margin of five to one, and accounting for close to half of Monsanto’s revenue. Today, glyphosate

remains one of the world's largest herbicides by sales volume.

Monsanto has known for decades that it falsely advertises the safety of Roundup®.

       42.     In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup ® products. Specifically, the

lawsuit challenged Monsanto’s general representations that its spray-on glyphosate-based

herbicides, including Roundup®, were “safer than table salt” and "practically non-toxic" to

mammals, birds, and fish. Among the representations the NYAG found deceptive and misleading

about the human and environmental safety of Roundup® are the following:

               a)     Remember      that    environmentally   friendly   Roundup    herbicide   is

                      biodegradable. It won't build up in the soil so you can use Roundup with

                      confidence along customers' driveways, sidewalks and fences ...

               b)     And remember that Roundup is biodegradable and won't build up in the soil.

                      That will give you the environmental confidence you need to use Roundup

                      everywhere you've got a weed, brush, edging or trimming problem.

               c)     Roundup biodegrades into naturally occurring elements.

               d)     Remember that versatile Roundup herbicide stays where you put it. That

                      means there's no washing or leaching to harm customers' shrubs or other

                      desirable vegetation.

               e)     This non-residual herbicide will not wash or leach in the soil. It ... stays

                      where you apply it.




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               f)     You can apply Accord with “confidence because it will stay where you put

                      it” it bonds tightly to soil particles, preventing leaching. Then, soon after

                      application, soil microorganisms biodegrade Accord into natural products.

               g)     Glyphosate is less toxic to rats than table salt following acute oral ingestion.

               h)     Glyphosate's safety margin is much greater than required. It has over a

                      1,000-fold safety margin in food and over a 700-fold safety margin for

                      workers who manufacture it or use it.

               i)     You can feel good about using herbicides by Monsanto. They carry a

                      toxicity category rating of 'practically non-toxic' as it pertains to mammals,

                      birds and fish.

               j)     “Roundup can be used where kids and pets will play and breaks down into

                      natural material.” This ad depicts a person with his head in the ground and

                      a pet dog standing in an area which has been treated with Roundup.

       43.     On November 19, 1996, Monsanto entered into an Assurance of Discontinuance

with NYAG, in which Monsanto agreed, among other things, “to cease and desist from publishing

or broadcasting any advertisements [in New York] that represent, directly or by implication” that:

               a)     its glyphosate-containing pesticide products or any component thereof are

                      safe, non-toxic, harmless or free from risk. ***

               b)     its glyphosate-containing pesticide products or any component thereof

                      manufactured, formulated, distributed or sold by Monsanto are

                      biodegradable ***




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               c)     its glyphosate-containing pesticide products or any component thereof stay

                      where they are applied under all circumstances and will not move through

                      the environment by any means. ***

               d)     its glyphosate-containing pesticide products or any component thereof are

                      "good" for the environment or are "known for their environmental

                      characteristics." * * *

               e)     glyphosate-containing pesticide products or any component thereof are

                      safer or less toxic than common consumer products other than herbicides;

               f)     its glyphosate-containing products or any component thereof might be

                      classified as "practically non-toxic."

       44.     Monsanto did not alter its advertising in the same manner in any state other than

New York, and on information and belief still has not done so today.

       45.     In 2009, France’s highest court ruled that Monsanto had not told the truth about the

safety of Roundup®. The French court affirmed an earlier judgement that Monsanto had falsely

advertised its herbicide Roundup® as “biodegradable” and that it “left the soil clean.”

Classifications and Assessments of Glyphosate

       46.     The IARC process for the classification of glyphosate followed the stringent

procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program has

reviewed 980 agents. Of those reviewed, it has determined 116 agents to be Group 1 (Known

Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens); 287 agents to be

Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not Classified); and one

agent to be Probably Not Carcinogenic.




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       47.     The established procedure for IARC Monograph evaluations is described in the

IARC Programme’s Preamble. Evaluations are performed by panels of international experts,

selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

       48.     One year before the Monograph meeting, the meeting is announced and there is a

call both for data and for experts. Eight months before the Monograph meeting, the Working Group

membership is selected and the sections of the Monograph are developed by the Working Group

members. One month prior to the Monograph meeting, the call for data is closed and the various

draft sections are distributed among Working Group members for review and comment. Finally,

at the Monograph meeting, the Working Group finalizes review of all literature, evaluates the

evidence in each category, and completes the overall evaluation. Within two weeks after the

Monograph meeting, the summary of the Working Group findings is published in Lancet

Oncology, and within a year after the meeting, the final Monograph is finalized and published.

       49.     In assessing an agent, the IARC Working Group reviews the following information:

               a)      human, experimental, and mechanistic data;

               b)      all pertinent epidemiological studies and cancer bioassays; and

               c)      representative mechanistic data. The studies must be publicly available and

                       have sufficient detail for meaningful review, and reviewers cannot be

                       associated with the underlying study.

       50.     In March 2015, IARC reassessed glyphosate. The summary published in The

Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.

       51.     On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph 112. For

Volume 112, the volume that assessed glyphosate, a Working Group of 17 experts from 11


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countries met at IARC from March 3–10, 2015, to assess the carcinogenicity of certain herbicides,

including glyphosate. The March meeting culminated nearly a one-year review and preparation by

the IARC Secretariat and the Working Group, including a comprehensive review of the latest

available scientific evidence. According to published procedures, the Working Group considered

“reports that have been published or accepted for publication in the openly available scientific

literature” as well as “data from governmental reports that are publicly available.”

       52.       The studies considered the following exposure groups: occupational exposure of

farmers and tree nursery workers in the United States, forestry workers in Canada and Finland,

and municipal weed-control workers in the United Kingdom; and para-occupational exposure in

farming families.

       53.       Glyphosate was identified as the second-most used household herbicide in the

United States for weed control between 2001 and 2007 and the most heavily used herbicide in the

world in 2012.

       54.       Exposure pathways are identified as air (especially during spraying), water, and

food. Community exposure to glyphosate is widespread and found in soil, air, surface water, and

groundwater, as well as in food.

       55.       The assessment of the IARC Working Group identified several case control studies

of occupational exposure in the United States, Canada, and Sweden. These studies show a human

health concern from agricultural and other work-related exposure to glyphosate.

       56.       The IARC Working Group found an increased risk between exposure to glyphosate

and non-Hodgkin lymphoma (“NHL”) and several subtypes of NHL, and the increased risk

persisted after adjustment for other pesticides.




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        57.    The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported increases in

blood markers of chromosomal damage (micronuclei) after glyphosate formulations were sprayed.

        58.    In male CD-1 mice, glyphosate induced a positive trend in the incidence of a rare

tumor, renal tubule carcinoma. A second study reported a positive trend for haemangiosarcoma in

male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies. A

glyphosate formulation promoted skin tumors in an initiation-promotion study in mice.

        59.    The IARC Working Group also noted that glyphosate has been detected in the urine

of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to

aminomethylphosphoric acid (AMPA). Blood AMPA detection after exposure suggests intestinal

microbial metabolism in humans.

        60.    The IARC Working Group further found that glyphosate and glyphosate

formulations induced DNA and chromosomal damage in mammals, and in human and animal cells

in utero.

        61.    The IARC Working Group also noted genotoxic, hormonal, and enzymatic effects

in mammals exposed to glyphosate. Essentially, glyphosate inhibits the biosynthesis of aromatic

amino acids, which leads to several metabolic disturbances, including the inhibition of protein and

secondary product biosynthesis and general metabolic disruption.

        62.    The IARC Working Group also reviewed an Agricultural Health Study, consisting

of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and North Carolina. While

this study differed from others in that it was based on a self-administered questionnaire, the results

support an association between glyphosate exposure and Multiple Myeloma, Hairy Cell Leukemia

(HCL), and Chronic Lymphocytic Leukemia (CLL), in addition to several other cancers.


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Other Earlier Findings About Glyphosate’s Dangers to Human Health

       63.     The EPA has a technical fact sheet, as part of its Drinking Water and Health,

National Primary Drinking Water Regulations publication, relating to glyphosate. This technical

fact sheet predates the IARC March 20, 2015, evaluation. The fact sheet describes the release

patterns for glyphosate as follows:

Release Patterns

       64.     Glyphosate is released to the environment in its use as a herbicide for controlling

woody and herbaceous weeds on forestry, right-of-way, cropped and non-cropped sites. These

sites may be around water and in wetlands. It may also be released to the environment during its

manufacture, formulation, transport, storage, disposal, and cleanup, and from spills. Since

glyphosate is not a listed chemical in the Toxics Release Inventory, data on releases during its

manufacture and handling are not available. Occupational workers and home gardeners may be

exposed to glyphosate by inhalation and dermal contact during spraying, mixing, and cleanup.

They may also be exposed by touching soil and plants to which glyphosate was applied.

Occupational exposure may also occur during glyphosate's manufacture, transport storage, and

disposal.

       65.     In 1995, the Northwest Coalition for Alternatives to Pesticides reported that in

California, the state with the most comprehensive program for reporting of pesticide-caused

illness, glyphosate was the third most commonly-reported cause of pesticide illness among

agricultural workers.

Recent Worldwide Bans on Roundup®/Glyphosate

       66.     Several countries around the world have instituted bans on the sale of Roundup®

and other glyphosate-containing herbicides, both before and since IARC first announced its


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assessment for glyphosate in March 2015, and more countries undoubtedly will follow suit as the

dangers of the use of Roundup® are more widely known. The Netherlands issued a ban on all

glyphosate-based herbicides in April 2014, including Roundup®, which took effect by the end of

2015. In issuing the ban, the Dutch Parliament member who introduced the successful legislation

stated: “Agricultural pesticides in user-friendly packaging are sold in abundance to private persons.

In garden centers, Roundup® is promoted as harmless, but unsuspecting customers have no idea

what the risks of this product are. Especially children are sensitive to toxic substances and should

therefore not be exposed to it.”

       67.     The Brazilian Public Prosecutor in the Federal District requested that the Brazilian

Justice Department suspend the use of glyphosate.

       68.     France banned the private sale of Roundup® and glyphosate following the IARC

assessment for Glyphosate.

       69.     Bermuda banned both the private and commercial sale of glyphosates, including

Roundup®. The Bermuda government explained its ban as follows: “Following a recent scientific

study carried out by a leading cancer agency, the importation of weed spray ‘Roundup’ has been

suspended.”

       70.     The Sri Lankan government banned the private and commercial use of glyphosates,

particularly out of concern that glyphosate has been linked to fatal kidney disease in agricultural

workers.

       71.     The government of Columbia announced its ban on using Roundup® and

glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of the

WHO’s finding that glyphosate is probably carcinogenic.




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V.     DISCOVERY RULE

       69.     Plaintiffs hereby plead and invoke the “discovery rule.” Plaintiffs will show that

after reasonably exercising due diligence, they did not learn the nature of the cause of their cancers

or that such cancers were chemically-related until less than two years prior to the filing of the

Plaintiffs’ causes of action herein. Plaintiffs also specifically invoke the Federally Required

Commencement Date, pursuant to 42 U.S.C. § 9658.

VI.    CLAIMS

                                       COUNT I
                           STRICT LIABILITY (DESIGN DEFECT)
                                 (AGAINST MONSANTO)


       70.     Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       71.     Plaintiffs bring this strict liability claim against Monsanto for defective design.

       72.     At all times relevant to this litigation, Monsanto engaged in the business of testing,

developing, manufacturing, selling, distributing, and Monsanto engaged in the marketing,

packaging design, and promotion of Roundup® products, which are defective and unreasonably

dangerous to consumers, including Plaintiffs, thereby placing Roundup® products into the stream

of commerce. These actions were under the ultimate control and supervision of Monsanto. At all

times relevant to this litigation, Monsanto designed, researched, developed, manufactured,

produced, tested, assembled, labeled, advertised, promoted, marketed, sold, and distributed the

Roundup® products used by the Plaintiffs, as described above.

       73.     At all times relevant to this litigation, Roundup® products were manufactured,

designed, and labeled in an unsafe, defective, and inherently dangerous manner that was dangerous

for use by or exposure to the public, and, in particular, the Plaintiffs.

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        74.    At all times relevant to this litigation, Roundup® products reached the intended

consumers, handlers, and users or other persons coming into contact with these products in

Missouri and throughout the United States, including Plaintiffs, without substantial change in their

condition as designed, manufactured, sold, distributed, labeled, and marketed by Monsanto.

        75.    Roundup® products, as researched, tested, developed, designed, licensed,

manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were defective in

design and formulation in that when they left the hands of the manufacturers and/or suppliers, they

were unreasonably dangerous and dangerous to an extent beyond that which an ordinary consumer

would contemplate.

        76.    Roundup® products, as researched, tested, developed, designed, licensed,

manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were defective in

design and formulation in that when they left the hands of the manufacturers and/or suppliers, the

foreseeable risks exceeded the alleged benefits associated with their design and formulation.

        77.    At all times relevant to this action, Monsanto knew or had reason to know that

Roundup® products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Monsanto.

        78.    Therefore, at all times relevant to this litigation, Roundup® products, as researched,

tested, developed, designed, licensed, manufactured, packaged, labeled, distributed, sold, and

marketed by Monsanto were defective in design and formulation, in one or more of the following

ways:

               a)      When placed in the stream of commerce, Roundup® products were

                       defective in design and formulation, and, consequently, dangerous to an

                       extent beyond that which an ordinary consumer would contemplate.


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               b)      When placed in the stream of commerce, Roundup® products were

                       unreasonably dangerous in that they were hazardous and posed a grave risk

                       of cancer and other serious illnesses when used in a reasonably anticipated

                       manner.

               c)      When placed in the stream of commerce, Roundup® products contained

                       unreasonably dangerous design defects and were not reasonably safe when

                       used in a reasonably anticipated or intended manner.

               d)      Monsanto did not sufficiently test, investigate, or study Roundup® products

                       and, specifically, the active ingredient glyphosate.

               e)      Exposure to Roundup® and glyphosate-containing products presents a risk

                       of harmful side effects that outweigh any potential utility stemming from

                       the use of the herbicide.

               f)      At the time of marketing its Roundup® products, Roundup® was defective

                       in that exposure to Roundup® and specifically, its active ingredient

                       glyphosate, could result in cancer and other severe illnesses and injuries.

               g)      Monsanto did not conduct adequate post-marketing surveillance of its

                       Roundup® products.

               h)      Monsanto could have employed safer alternative designs and formulations.

       79.     Plaintiffs were exposed to Roundup® products in the course of their work or

personal use, as described above, without knowledge of their dangerous characteristics.

       80.     At all times relevant to this litigation, Plaintiffs used and/or were exposed to the

use of Roundup® products in an intended or reasonably foreseeable manner without knowledge

of their dangerous characteristics.


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        81.       Plaintiffs could not have reasonably discovered the defects and risks associated

with Roundup® or glyphosate-containing products before or at the time of exposure.

        82.       The harm caused by Roundup® products far outweighed their benefit, rendering

these products dangerous to an extent beyond that which an ordinary consumer would contemplate.

Roundup® products were and are more dangerous than alternative products and Monsanto could

have designed Roundup® products (including their packaging and sales aids) to make them less

dangerous. Indeed, at the time that Monsanto designed Roundup® products, the state of the

industry’s scientific knowledge was such that a less risky design or formulation was attainable.

        83.       At the time Roundup® products left Monsanto’s control, there was a practical,

technically feasible and safer alternative design that would have prevented the harm without

substantially impairing the reasonably anticipated or intended function of those herbicides.

        84.       Monsanto’s defective design of Roundup® products was willful, wanton,

fraudulent, malicious, and conducted with reckless disregard for the health and safety of users of

the Roundup® products, including the Plaintiffs herein.

        85.       Therefore, as a result of the unreasonably dangerous condition of its Roundup®

products, Monsanto is strictly liable to Plaintiffs.

        86.       The defects in Roundup® products caused or contributed to cause Plaintiffs’ grave

injuries, and, but for Monsanto’s misconduct and omissions, Plaintiffs would not have sustained

their injuries.

        87.       Monsanto’s conduct, as described above, was reckless. Monsanto risked the lives

of consumers and users of its products, including Plaintiffs, with knowledge of the safety problems

associated with Roundup® and glyphosate-containing products, and suppressed this knowledge




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from the general public. Monsanto made conscious decisions not to redesign, warn, or inform the

unsuspecting public. Monsanto’s reckless conduct warrants an award of aggravated damages.

          88.    As a direct and proximate result of Monsanto placing defective Roundup® products

into the stream of commerce, Plaintiffs have suffered and continue to suffer grave injuries, and

have endured physical pain and discomfort, as well as economic hardship, including considerable

financial expenses for medical care and treatment.

          WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

favor for compensatory and punitive damages in an amount in excess of Twenty-Five Thousand

Dollars ($25,000.00), together with interest, costs herein incurred, and all such other and further

relief as this Court deems just and proper. Plaintiffs also demand a jury trial on the issues contained

herein.

                                       COUNT II
                          STRICT LIABILITY (FAILURE TO WARN)
                                 (AGAINST MONSANTO)

          89.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

          90.    Plaintiffs bring this strict liability claim against Monsanto for failure to warn.

          91.    At all times relevant to this litigation, Monsanto engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting Roundup®

products, which are defective and unreasonably dangerous to consumers, including Plaintiffs,

because they do not contain adequate warnings or instructions concerning the dangerous

characteristics of Roundup® and, specifically, the active ingredient glyphosate. These actions

were under the ultimate control and supervision of Monsanto.




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       92.     Monsanto researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of commerce

Roundup® products, and in the course of same, directly advertised or marketed the products to

consumers and end users, including the Plaintiffs, and therefore had a duty to warn of the risks

associated with the use of Roundup® and glyphosate-containing products.

       93.     At all times relevant to this litigation, Monsanto had a duty to properly test, develop,

design, manufacture, inspect, package, label, market, promote, sell, distribute, maintain supply,

provide proper warnings, and take such steps as necessary to ensure that Roundup® products did

not cause users and consumers to suffer from unreasonable and dangerous risks. Monsanto had a

continuing duty to warn the Plaintiffs of the dangers associated with Roundup® use and exposure.

Monsanto, as manufacturer, seller, promoter, marketer, or distributor of chemical herbicides are

held to the knowledge of an expert in the field.

       94.     At the time of manufacture, Monsanto could have provided the warnings or

instructions regarding the full and complete risks of Roundup® and glyphosate-containing

products because it knew or should have known of the unreasonable risks of harm associated with

the use of and/or exposure to such products.

       95.     At all times relevant to this litigation, Monsanto failed to investigate, study, test, or

promote the safety or to minimize the dangers to users and consumers of its product and to those

who would foreseeably use or be harmed by these herbicides, including Plaintiffs.

       96.     Despite the fact that Monsanto knew or should have known that Roundup® posed

a grave risk of harm, it failed to exercise reasonable care to warn of the dangerous risks associated

with use and exposure. The dangerous propensities of these products and the carcinogenic

characteristics of glyphosate, as described above, were known to Monsanto, or scientifically


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knowable to Monsanto through appropriate research and testing by known methods, at the time it

distributed, marketed, promoted, supplied, or sold the product, and not known to end users and

consumers, such as Plaintiffs.

       97.     These products created significant risks of serious bodily harm to consumers, as

alleged herein, and Monsanto failed to adequately warn consumers and reasonably foreseeable

users of the risks of exposure to its products. Monsanto has wrongfully concealed information

concerning the dangerous nature of Roundup® and its active ingredient glyphosate, and further

made false and/or misleading statements concerning the safety of Roundup® and glyphosate.

       98.     At all times relevant to this litigation, Roundup® products reached the intended

consumers, handlers, and users or other persons coming into contact with these products in

Missouri and throughout the United States, including Plaintiffs, without substantial change in their

condition as designed, manufactured, sold, distributed, labeled, promoted, and marketed by

Monsanto.

       99.     Plaintiffs were exposed to Roundup® products in the course of their employment

and/or personal use of Roundup®, without knowledge of its dangerous characteristics.

       100.    At all times relevant to this litigation, Plaintiffs used and/or were exposed to the

use of Roundup® products in their intended or reasonably foreseeable manner without knowledge

of their dangerous characteristics.

       101.    Plaintiffs could not have reasonably discovered the defects and risks associated

with Roundup® or glyphosate-containing products prior to or at the time of Plaintiffs’ exposure.

Plaintiffs relied upon the skill, superior knowledge, and judgment of Monsanto.

       102.    These products were defective because the minimal warnings disseminated with

Roundup® products were inadequate, and they failed to communicate adequate information on the


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dangers and safe use/exposure and failed to communicate warnings and instructions that were

appropriate and adequate to render the products safe for their ordinary, intended, and reasonably

foreseeable uses, including agricultural and landscaping applications.

       103.     The information that Monsanto did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

to utilize the products safely and with adequate protection. Instead, Monsanto disseminated

information that was inaccurate, false, and misleading and which failed to communicate accurately

or adequately the comparative severity, duration, and extent of the risk of injuries with use of

and/or exposure to Roundup® and glyphosate; continued to aggressively promote the efficacy of

its products, even after it knew or should have known of the unreasonable risks from use or

exposure; and concealed, downplayed, or otherwise suppressed, through aggressive marketing and

promotion, any information or research about the risks and dangers of exposure to Roundup® and

glyphosate.

       104.     To this day, Monsanto has failed to adequately and accurately warn of the true risks

of Plaintiffs’ injuries associated with the use of and exposure to Roundup® and its active

ingredient glyphosate, a probable carcinogen.

       105.     As a result of their inadequate warnings, Roundup® products were defective and

unreasonably dangerous when they left the possession and/or control of Monsanto, were

distributed, marketed, and promoted by Monsanto, and used by Plaintiffs in their work and/or

personal use.

       106.     Monsanto is liable to Plaintiffs for injuries caused by its negligent or willful failure,

as described above, to provide adequate warnings or other clinically relevant information and data




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regarding the appropriate use of these products and the risks associated with the use of or exposure

to Roundup® and glyphosate.

          107.   The defects in Roundup® products caused or contributed to cause Plaintiffs’

injuries, and, but for this misconduct and omissions, Plaintiffs would not have sustained their

injuries.

          108.   Had Monsanto provided adequate warnings and instructions and properly disclosed

and disseminated the risks associated with Roundup® products, Plaintiffs could have avoided the

risk of developing injuries as alleged herein.

          109.   As a direct and proximate result of Monsanto placing defective Roundup® products

into the stream of commerce, Plaintiffs have suffered severe injuries and have endured physical

pain and discomfort, as well as economic hardship, including considerable financial expenses for

medical care and treatment.

          WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

favor for compensatory and punitive damages in an amount in excess of Twenty-Five Thousand

Dollars ($25,000.00) together with interest, costs herein incurred, and all such other and further

relief as this Court deems just and proper. Plaintiffs also demand a jury trial on the issues contained

herein.

                                         COUNT III
                                        NEGLIGENCE
                                    (AGAINST MONSANTO)

          110.   Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

          111.   Monsanto, directly or indirectly, caused Roundup® products to be sold, distributed,

packaged, labeled, marketed, promoted, and/or used by Plaintiffs.


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       112.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable

care in the design, research, manufacture, marketing, advertisement, supply, promotion,

packaging, sale, and distribution of Roundup® products, including the duty to take all reasonable

steps necessary to manufacture, promote, and/or sell a product that was not unreasonably

dangerous to consumers and users of the product.

       113.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable

care in the marketing, advertisement, and sale of the Roundup® products. Monsanto’s duty of care

owed to consumers and the general public included providing accurate, true, and correct

information concerning the risks of using Roundup® and appropriate, complete, and accurate

warnings concerning the potential adverse effects of exposure to Roundup®, and, in particular, its

active ingredient glyphosate.

       114.    At all times relevant to this litigation, Monsanto knew or, in the exercise of

reasonable care, should have known of the hazards and dangers of Roundup® and specifically, the

carcinogenic properties of the chemical glyphosate.

       115.    Accordingly, at all times relevant to this litigation, Monsanto knew or, in the

exercise of reasonable care, should have known that use of or exposure to its Roundup® products

could cause or be associated with Plaintiffs’ injuries and thus created a dangerous and

unreasonable risk of injury to the users of these products, including Plaintiffs.

       116.    Monsanto also knew or, in the exercise of reasonable care, should have known that

users and consumers of Roundup® were unaware of the risks and the magnitude of the risks

associated with use of and/or exposure to Roundup® and glyphosate-containing products.

       117.    As such, Monsanto breached the duty of reasonable care and failed to exercise

ordinary care in the design, research, development, manufacture, testing, marketing, supply,


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promotion, advertisement, packaging, sale, and distribution of its Roundup® products, in that

Monsanto manufactured, marketed, promoted, and sold defective herbicides containing the

chemical glyphosate, knew or had reason to know of the defects inherent in these products, knew

or had reason to know that a user’s or consumer’s exposure to the products created a significant

risk of harm and unreasonably dangerous side effects, and failed to prevent or adequately warn of

these risks and injuries.

       118.    Despite an ability and means to investigate, study, and test these products and to

provide adequate warnings, Monsanto has failed to do so. Indeed, Monsanto has wrongfully

concealed information and has further made false and/or misleading statements concerning the

safety and/or exposure to Roundup® and glyphosate.

       119.    Monsanto was negligent in the following respects:

               a)      Manufacturing, producing, promoting, formulating, creating, developing,

                       designing, selling, and/or distributing its Roundup® products without

                       thorough and adequate pre- and post-market testing;

               b)      Manufacturing, producing, promoting, formulating, creating, developing,

                       designing, selling, and/or distributing Roundup® while negligently and/or

                       intentionally concealing and failing to disclose the results of trials, tests, and

                       studies of exposure to glyphosate, and, consequently, the risk of serious

                       harm associated with human use of and exposure to Roundup®;

               c)      Failing to undertake sufficient studies and conduct necessary tests to

                       determine whether or not Roundup® products and glyphosate-containing

                       products were safe for their intended use in agriculture and horticulture;




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           d)     Failing to use reasonable and prudent care in the design, research,

                  manufacture, and development of Roundup® products so as to avoid the

                  risk   of   serious   harm     associated   with   the   prevalent    use   of

                  Roundup®/glyphosate as an herbicide;

           e)     Failing to design and manufacture Roundup® products so as to ensure they

                  were at least as safe and effective as other herbicides on the market;

           f)     Failing to provide adequate instructions, guidelines, and safety precautions

                  to those persons who Monsanto could reasonably foresee would use and be

                  exposed to its Roundup® products;

           g)     Failing to disclose to Plaintiffs, users/consumers, and the general public that

                  use of and exposure to Roundup® presented severe risks of cancer and other

                  grave illnesses;

           h)     Failing to warn Plaintiffs, consumers, and the general public that the

                  product’s risk of harm was unreasonable and that there were safer and

                  effective alternative herbicides available to Plaintiffs and other consumers;

           i)     Systematically suppressing or downplaying contrary evidence about the

                  risks, incidence, and prevalence of the side effects of Roundup® and

                  glyphosate-containing products;

           j)     Representing that its Roundup® products were safe for their intended use

                  when, in fact, Monsanto knew or should have known that the products

                  were not safe for their intended purpose;




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               k)      Declining to make or propose any changes to Roundup® products’ labeling

                       or other promotional materials that would alert the consumers and the

                       general public of the risks of Roundup® and glyphosate;

               l)      Advertising, marketing, and recommending the use of the Roundup®

                       products, while concealing and failing to disclose or warn of the dangers

                       known by Monsanto to be associated with or caused by the use of or

                       exposure to Roundup® and glyphosate;

               m)      Continuing to disseminate information to its consumers, which indicate or

                       imply that Monsanto’s Roundup® products are not unsafe for use in the

                       agricultural and horticultural industries; and

               n)      Continuing the manufacture and sale of its products with the knowledge that

                       the products were unreasonably unsafe and dangerous.

       120.    Monsanto knew and/or should have known that it was foreseeable that consumers

such as Plaintiffs would suffer injuries as a result of Monsanto’s failure to exercise ordinary care

in the manufacturing, marketing, promotion, labeling, distribution, and sale of Roundup®.

       121.    Plaintiffs did not know the nature and extent of the injuries that could result from

the intended use of and/or exposure to Roundup® or its active ingredient glyphosate.

       122.    Monsanto’s negligence was the proximate cause of the injuries, harm, and

economic losses that Plaintiffs suffered, as described herein.

       123.    Monsanto’s conduct, as described above, was reckless. Monsanto regularly risked

the lives of consumers and users of its products, including Plaintiffs, with full knowledge of the

dangers of these products. Monsanto has made conscious decisions not to redesign, re-label, warn,




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or inform the unsuspecting public, including Plaintiffs. Monsanto’s reckless conduct therefore

warrants an award of aggravated or punitive damages.

          124.   As a proximate result of Monsanto’s wrongful acts and omissions in placing

defective Roundup® products into the stream of commerce without adequate warnings of the

hazardous and carcinogenic nature of glyphosate, Plaintiffs have suffered severe and permanent

physical and emotional injuries. Plaintiffs have endured pain and suffering and have suffered

economic losses (including significant expenses for medical care and treatment) in an amount to

be determined.

          WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in Plaintiffs’

favor for compensatory and punitive damages in an amount in excess of Twenty-Five Thousand

Dollars ($25,000.00) together with interest, costs herein incurred, and all such other and further

relief as this Court deems just and proper. Plaintiffs also demand a jury trial on the issues contained

herein.

VI.       JURY DEMAND

          125.   PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL COUNTS.

Dated: December 22, 2017

                                                       TORHOERMAN LAW LLC

                                                       /s/ Tor Hoerman
                                                       Tor Hoerman, #61566
                                                       Kenneth J. Brennan, #47523
                                                       TorHoerman Law, LLC
                                                       210 S. Main Street
                                                       Edwardsville, IL 62025
                                                       Phone: (618) 656-4400
                                                       Fax: (618) 656-4401
                                                       Email: tor@thlawyer.com
                                                       Email: kbrennan@thlawyer.com
                                                       Attorneys for Plaintiffs


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In the
CIRCUIT COURT                                                                                      ┌                               ┐
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Of St. Louis County, Missouri
                                                            December 22, 2017
                                                           _________________________
 Jill Barth et al,
__________________________________________                 Date
Plaintiff/Petitioner
                                                           _________________________
                                                           Case Number
vs.
                                                            Civil
                                                           _________________________
 Monsanto Company
__________________________________________                 Division

                                                                                                   └                               ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                    Plaintiffs                                             pursuant
                                                  Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Dennis Dahlberg (Dahlberg & Associates, L.L.C.) 107 Chatelet Drive, St. Louis,MO 63135 314-524-7835
        Name of Process Server                            Address                                                      Telephone

        ___________________________________________________________________________
        Name of Process Server                            Address or in the Alternative                                Telephone

        ___________________________________________________________________________
        Name of Process Server                            Address or in the Alternative                                Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                          SERVE:
         Monsanto Company c/o CSC of St. Louis County, Inc.
        ____________________________________________                    ____________________________________________
        Name                                                            Name
         130 South Bemiston Avenue, Suite 700
        ____________________________________________                    ____________________________________________
        Address                                                         Address
         Clayton, MO 63105
        ____________________________________________                    ____________________________________________
        City/State/Zip                                                  City/State/Zip

        SERVE:                                                          SERVE:
        ____________________________________________                    ____________________________________________
        Name                                                            Name
        ____________________________________________                    ____________________________________________
        Address                                                         Address
        ____________________________________________                    ____________________________________________
        City/State/Zip                                                  City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                    /s/Tor A. Hoerman
                                                                        ___________________________________________
                                                                        Signature of Attorney/Plaintiff/Petitioner
                                                                         61566
                                                                        ___________________________________________
        By ________________________________________                     Bar No.
            Deputy Clerk                                                 6029 Old Poag Road, Edwardsville, IL 62025
                                                                        ___________________________________________
                                                                        Address
        ___________________________________________                      (618) 656-4400                   (618) 656-4401
                                                                        ___________________________________________
        Date                                                            Phone No.                                   Fax No.



        CCADM62-WS         Rev. 08/16
                                                                                     Electronically Filed - St Louis County - December 22, 2017 - 12:45 PM
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Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


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             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 17SL-CC04719
 KRISTINE A KERR
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 JILL BARTH                                                     TOR ARTHUR HOERMAN
                                                                SUITE 350
                                                                101 WEST VANDALIA STREET
                                                          vs.   EDWARDSVILLE, IL 62025
 Defendant/Respondent:                                          Court Address:
 MONSANTO COMPANY                                               ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Prod Liab                                       CLAYTON, MO 63105
                                                                                                                                      (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: MONSANTO COMPANY
                                      Alias:
  R/A: CSC OF ST. L
  130 S BEMISTON AVE, STE 700
  CLAYTON, MO 63105

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least
                                     three business days in advance of the court proceeding.
      ST. LOUIS COUNTY

                                        02-JAN-2018                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       AMH
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                          Date                                        Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.
OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 18-SMCC-13        1     (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                         54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 18-SMCC-13   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:18-cv-00008-NCC Doc. #: 1-1 Filed: 01/02/18 Page: 38 of 38 PageID #: 45


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
